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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 11-cr-00184-WYD

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1. LEON HENDERSON ASKEW,

      Defendant.


                                         ORDER


      This matter is before the Court upon a review of the file. To ensure that all

pre-trial phases of the case are complete before the commencement of the jury trial, it is

      ORDERED that all pretrial motions shall be filed by Tuesday, October 25, 2011,

and responses to these motions shall be filed by Tuesday, November 8, 2011. It is

      FURTHER ORDERED that a hearing on all pending motions, if any, and final trial

preparation conference will be set at a future date upon the request of counsel if

necessary. It is

      FURTHER ORDERED that a 4-day jury trial is set for Monday, December 5,

2011, at 9:00 a.m. in courtroom A-1002.




      Dated: October 11, 2011
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                                  BY THE COURT:


                                  s/ Wiley Y. Daniel
                                  Wiley Y. Daniel
                                  Chief United States District Judge




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